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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA

In re:

Donald Andrew Driggs,                                           Bky. No. 13-42355

         Debtor.                                                Chapter 11 Case


                               NOTICE OF HEARING ON
                         MOTION TO CONVERT CHAPTER 11 CASE


TO:      The debtor, all creditors and other parties in interest:

         The United States Trustee has filed a motion to dismiss or convert the above named

Chapter 11 case pursuant to 11 U.S.C. ' 1112(b).

         The hearing will be held on July 9, 2014 at 9:30 a.m. before the United States Bankruptcy

Court, Courtroom 2A, U.S. Courthouse, 316 N. Robert St., St. Paul, MN 55101.

         Any response to this motion must be filed and delivered not later than July 3, 2014,

which is five days before the time set for the hearing (excluding intermediate Saturdays, Sundays

and legal holidays).    Local Bankruptcy Rule 9006-1.



Dated:



                                                        CLERK OF BANKRUPTCY COURT
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA
In re:

Donald Andrew Driggs,                                          Bky. No. 13-42355

         Debtor.                                               Chapter 11 Case

                          NOTICE OF HEARING AND MOTION TO
                         CONVERT OR DISMISS CHAPTER 11 CASE


         COMES NOW the United States Trustee through his undersigned attorney, Sarah J.

Wencil, and moves the Court to convert this Chapter 11 case. In support of his motion, he states

the following:

         1.      The hearing will be held on July 9, 2014 at 9:30 a.m. before the United States

Bankruptcy Court, Courtroom 2A, U.S. Courthouse, 316 N. Robert St., St. Paul, MN 55101.

         2.      Any response to this motion must be filed and delivered not later than July 3,

2014, which is five days before the time set for the hearing (excluding intermediate Saturdays,

Sundays and legal holidays). Local Bankruptcy Rule 9006-1.

         3. The UST has standing to bring this motion pursuant to 11 U.S.C. ' 307 and 28 U.S.C. '

586. This matter is a core-proceeding arising under 28 U.S.C. ' 157(b)(2)(A). This Court has

jurisdiction pursuant to 28 U.S.C. ' 1334. This motion is brought pursuant to 11 U.S.C.

'1112(b). Local Bankruptcy Rule 1017-2 provides that a motion to convert may be treated as a

motion to dismiss if the Court finds dismissal in the best interest of the creditors and the estate.

         4.      The debtor previously filed a chapter 11 case (BK 08-41984).       The Court

confirmed the Eighth Modified Plan on April 30, 2009. After confirmation, at least three

creditors moved for relief from the automatic stay after the debtor failed to make the requirement

payments under the plan in BK 08-41984: Heritage Bank (Doc. 223); CitiMortgage, Inc. (Doc.

227) and Wells Fargo Bank (Doc. 231). The Court eventually dismissed the case before a

discharge was granted (Doc. 257).


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        5.       The debtor filed the present case on May 8, 2013. A confirmation hearing is

scheduled for July 9, 2014, at 9:30 a.m.      In the present plan, the debtor has five parcels of real

estate that he is restructuring.

        6.       Cause will exist to dismiss or convert this case for failure to confirm a plan at the

completion of the confirmation hearing starting on July 9, 2014.

        7.       Cause exists to dismiss or convert this case for gross mismanagement of the

bankruptcy estates funds under § 1112(b)(4)(B) and/or possible misuse of cash collateral under §

1112(b)(4)(D).

        8.       As required by Federal Rule 2013.5, the debtor filed two periodic reports of value

for his related entities on March 14, 2014 (Reports). Docs. No. 83 (1/1/13 – 5/31/13) & 84

(6/1/13-1/1/14)(Hereinafter, “Report 83” and “Report 84”).

        9.       Report 84 shows that the debtor-in-possession’s property, specifically insurance

proceeds from damage caused to real estate located at 3245 Hennepin, was deposited into the

account of the related entity One Mile LLC instead of into a debtor-in-possession account subject

to the supervision of the Bankruptcy Court. Given that the insurance proceeds belonged to the

estate, the diversion of funds was inappropriate under chapter 11.       It appears that the proceeds

were all expended through that account. From prior testimony, it appears that the debtor hired

himself for general contracting work to perform repairs on the underlying real estate.       Report 84

also shows that the debtor paid personal expenses from the insurance proceeds, instead of using the

proceeds for the repair of the real estate.

        10.      Cause exists to convert this case due to unreasonable delay and prejudice to

creditors.

        11.      The United States Trustee requests that this case be converted. This is the debtor’s

second chapter 11 case, so an independent trustee should liquidate the estate for the benefit of

creditors. It appears that some equity exists in the debtor’s assets.


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       WHEREFORE, the United States Trustee requests that the Court convert the above named

Chapter 11 case to Chapter 7.

Dated: June 18, 2014                             DANIEL MCDERMOTT
                                                 United States Trustee
                                                 Region 12

                                                  /s/ Sarah J. Wencil
                                                 Sarah J. Wencil
                                                 Trial Attorney
                                                 Office of U.S. Trustee
                                                 Iowa Atty. No. 14014
                                                 1015 United States Courthouse
                                                 300 South Fourth Street
                                                 Minneapolis, MN 55415
                                                 (612) 334-1350




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                                        VERIFICATION


        I, Sarah J. Wencil, Trial Attorney for the United States Trustee for the District of
Minnesota, declare under penalty of perjury that the foregoing is true and correct according to the
best of my knowledge, information and belief.

Executed on June 18, 2014                                    /s/Sarah J. Wencil
                                                            Trial Attorney
                                                            Office of U.S. Trustee
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA
In re:

Donald Andrew Driggs,                                          Bky. No. 13-42355

         Debtor.                                               Chapter 11 Case

                                   MEMORANDUM OF LAW


         Section 1112(b)(1) provides that the Court shall dismiss or convert a case for cause absent

unusual circumstances specifically identified by the Court that establish that conversion or

dismissal is not in the best interest of the estate. 11 U.S.C. ' 1112(b)(1). Section 1112(b)(4)

provides a non-exhaustive list of grounds for finding cause. In re Kerr, 908 F.2d 400 (8th Cir.

1990)(citing pre-BAPCPA §1112(b)); In re Keeley and Grabanski Land Partnership, 460 B.R.

520, 536 (Bankr. D. N.D. 2011)(citing post-BAPCPA §1112); In re Walton Street Properties,

LLC, 2011 WL 7179642, at * 3 (Bankr. W.D. Ark. 2011).

         Section 1112(b)(4)(A), which is relevant in this case, states that cause includes:

                (B) gross mismanagement of estate;

                (D) unauthorized use of cash collateral substantially harmful to 1 or more
                creditors;

                (E) inability to effectuate substantial consummation of a confirmed plan.

11 U.S.C. ' 1112(b)(4)(B), (D) and (E).      Cause may also include the failure to confirm a plan.

Repurchase Corp. v. Bodenstein, 2008 U.S. Dist. LEXIS 23504 (N.D. Ill. March 24, 2008).

Cause may also be unreasonable delay by the debtor that is prejudicial to creditors is regarded as

cause under Section 1112(b).      Carreras v. Palmas Doradas Condo. Homeowners Ass’n (In re

Carreras), 2013 Bankr. LEXIS 4567 (B.A.P. 1st Cir. Oct. 24, 2013).

         This case is the debtor’s second attempt at reorganizing under chapter 11. His first

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attempt was not successful.     Therefore, if the debtor cannot confirm a plan in this case, the Court

should convert the case.

       The debtor has enjoyed protection from the automatic stay for approximately six years

between the two cases.      Therefore, further delay is prejudicial to creditors who have not been

paid during that time.     The prejudice is cause to convert this case.

       In addition, it appears that the debtor has failed to deposit estate funds into the

debtor-in-possession account and has expended those funds through a related entity One Mile

LLC. Mismanagement concerns the handling of estate assets.             In re Charles Street African

Methodist Episcopal Church of Boston, 499 B.R. 66, 114 (Bankr. D. Mass. 2013); In re Grasso,

497 B.R. 448 (Bankr. E.D. Pa. 2013(finding that comingling estate assets with the nondebtor

entities constitutes gross mismanagement).      Cause exists to convert a case for gross

mismanagement of the bankruptcy estate under Section 1112(b)(4)(B).

       A bankruptcy court has broad discretion in deciding whether to dismiss or convert a

Chapter 11 case. Lumber Exchange Bldg., Ltd. v. Mutual Life Ins. Co. (In re Lumber Exchange

Bldg., Ltd.), 968 F.2d 647, 648 (8th Cir. 1992).       The United States Trustee requests that the

Bankruptcy Court convert this case for cause pursuant to 11 U.S.C. ' 1112(b)(4).

Dated: June 18, 2014                                      DANIEL MCDERMOTT
                                                          United States Trustee
                                                          Region 12

                                                          /s/ Sarah J. Wencil
                                                          Sarah J. Wencil
                                                          Trial Attorney
                                                          Office of U.S. Trustee
                                                          Iowa Atty. No. 14014
                                                          1015 United States Courthouse
                                                          300 South Fourth Street
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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MINNESOTA

In re:

Donald Andrew Driggs,                                     Bky. No. 13-42355

         Debtor.                                          Chapter 11 Case


                        UNSWORN CERTIFICATE OF SERVICE


       The undersigned hereby certifies under penalty of perjury that on June 18, 2014, she
caused to filed electronically the attached: Notice of Hearing on Motion to Convert or Dismiss
Chapter 11 Case, Notice of Hearing and Motion to Convert or Dismiss Chapter 11 Case,
Verification, Memorandum of Law and proposed Order, thereby causing the following parties to
be served by CM/ECF or first class mail postage pre-paid at the addresses set forth below:

CM/ECF:

        Joseph W. Dicker     joe@joedickerlaw.com, joyce@joedickerlaw.com
        Kevin T. Dobie     kevin@uwllaw.com,
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        N. Kibongni Fondungallah       kibong@schillerandadam.com,
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Internal Revenue Service
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Executed: June 18, 2014
                                                By: /s/ Sarah J. Wencil
                                                   Sarah J. Wencil
                                                     Office of the United States Trustee




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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In re:

Donald Andrew Driggs,                                        Bky. No. 13-42355

         Debtor.                                             Chapter 11 Case


                                              ORDER


         At Minneapolis, Minnesota.

         The United States Trustee=s motion to dismiss or convert this chapter 11 case came before

the bankruptcy court.

         Based on the pleadings, file and record of the these proceedings:

         IT IS HEREBY ORDERED:           This chapter 11 case is converted to chapter 7 pursuant to

11 U.S.C. ' 1112(b)(1).




Dated:
                                                      Chief Judge Gregory F. Kishel
                                                      United States Bankruptcy Court
